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                                                                                       JODI S. HOWLETT, Partner
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                                                                                       Reply to: Matawan Office



   September 13, 2022


   Via Electronic Filing
   The Honorable Evelyn Padin, U.S.D.J.
   United States District Court for the District of New Jersey
   Martin Luther King Building & U.S. Courthouse
   50 Walnut Street, Room 4015
   Newark, NJ 07101

            Re:    J.S. and S.S., on behalf of A.S.
                   v. West Morris Regional High School District Board of Education
                   U.S.D.C. Docket No.: 2:22-cv-00561-EP-ESK

   Dear Judge Padin:

   Please be advised that this firm represents Defendant, West Morris Regional High School District Board
   of Education, in connection with the above-referenced matter. Plaintiffs are represented by David R.
   Giles, Esq. In this regard, please be advised that the undersigned has conferred with Plaintiffs’ counsel
   who has agreed to withdraw Plaintiffs’ pending Motion for Entry of Default Judgment [11] and allow
   Defendant to file its Answer out of time, on or before September 18, 2022. By copy of this
   correspondence, I am hereby notifying Plaintiffs’ counsel that we have advised the Court of same, and
   hereby request the Court’s permission to file Defendant’s Answer out of time.

   Thank you for your assistance regarding this matter.

   Very truly yours,



   Jodi S. Howlett
   JSH/tb

   cc:      David R. Giles, Esq. (via electronic filing)


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